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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1112V
                                     Filed: March 20, 2017
                                         UNPUBLISHED

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KIRK FRANCESCHINI,                         *
                                           *
                      Petitioner,          *      Ruling on Entitlement; Concession;
v.                                         *      Influenza (“Flu”) vaccine; Tetanus-
                                           *      Diphtheria-acellular pertussis (“Tdap”)
SECRETARY OF HEALTH                        *      vaccine; brachial neuritis; Shoulder
AND HUMAN SERVICES,                        *      Injury Related to Vaccine Administration
                                           *      (“SIRVA”); Special Processing Unit
                      Respondent.          *      (“SPU”)
                                           *
****************************
Robert J. Killeen, Jr., Killeen & Stern, P.C., Houston, TX, for petitioner.
Ryan D. Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On September 7, 2016, Kirk Franceschini (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that an influenza (“flu”)
and/or tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine that he received on
November 6, 2013, caused him to suffer either brachial neuritis or a shoulder injury
related to vaccine administration (“SIRVA”). Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On March 20, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent recommends that compensation be awarded for septic
arthritis in petitioner’s left shoulder. Id. at 1. Respondent further agrees that petitioner


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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continued to seek treatment for his arm/shoulder pain for more than six months after the
onset of his condition and he also had inpatient hospitalization. Id. at 4-5.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Nora Beth Dorsey
                                 Nora Beth Dorsey
                                 Chief Special Master




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